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  8                          UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                               EASTERN DISTRICT
 11

 12
      JOSEPH DIAZ, JR.,                      CASE NO. 5:20-cv-02332-JWH-KK
 13
                Plaintiff,
 14                                          HON. KENLY KIYA KATO
           v.
 15                                          [DISCOVERY MATTER]
    RALPH HEREDIA, true name RAFAEL
 16 HEREDIA TARANGO, a/k/a RAFAEL
    HEREDIA, a/k/a RAFAEL                    [PROPOSED] PROTECTIVE
 17                                          ORDER
    BUSTAMANTE; JOHN DOE, ESQ.; and
 18 JANE DOES 1 through 20, inclusive,       Discovery Cut-Off: July 8, 2022
 19             Defendants.                  Pre-Trial Conference: November 18, 2022
                                             Trial: December 5, 2022
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  1   1.     PURPOSES AND LIMITATIONS
  2            A. INTRODUCTION
  3         Discovery in this action is likely to involve production of confidential,
  4 proprietary, or private information for which special protection from public disclosure
  5 and from use for any purpose other than prosecuting this litigation may be warranted.

  6 Accordingly, the parties hereby stipulate to and petition the court to enter the following

  7 Stipulated Protective Order. The parties acknowledge that this Order does not confer

  8 blanket protections on all disclosures or responses to discovery and that the protection

  9 it affords from public disclosure and use extends only to the limited information or
 10 items that are entitled to confidential treatment under the applicable legal principles.

 11 The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated

 12 Protective Order does not entitle them to file confidential information under seal; Civil

 13 Local Rule 79-5 sets forth the procedures that must be followed and the standards that

 14 will be applied when a party seeks permission from the court to file material under

 15 seal.

 16          B.    GOOD CAUSE STATEMENT
 17          This action is likely to involve confidential medical records, including mental
 18   health treatment records, certain financial information, and certain confidential
 19   business communications, for which special protection from public disclosure, and
 20   from use for any purpose other than prosecution of this action, is warranted. Such
 21   confidential and proprietary materials and information consist of, among other
 22   things, confidential business    or     financial        information,            information
 23   regarding confidential    business    practices,    or    other   confidential     research,
 24   development, or commercial information (including information implicating privacy
 25   rights of third parties), information otherwise generally unavailable to the public, or
 26   which may be privileged or otherwise protected from disclosure under state or
 27   federal statutes, court rules, case decisions, or common law. Accordingly, to
 28   expedite the flow of information, to facilitate the prompt resolution of disputes over

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  1   confidentiality of discovery materials, to adequately protect information the parties
  2   are entitled to keep confidential, to ensure that the parties are permitted reasonable
  3   necessary uses of such material in preparation for and in the conduct of trial, to
  4   address their handling at the end of the litigation, and to serve the ends of justice,
  5   good cause exists for a protective order to protect such information is justified in
  6   this matter. Information will not be designated “ CONFIDENTIAL” for tactical
  7   reasons. Nothing will be designated “confidential” without a good faith belief that it
  8   has been maintained in a confidential, non-public manner, and without a good faith
  9   belief that good cause exists as to why it should not be part of the public record of
 10   this case.
 11   2.    DEFINITIONS
 12          2.1   Action: this pending federal lawsuit.
 13          2.2   Challenging Party: a Party or Non-Party that challenges the designation
 14 of information or items under this Order.

 15          2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 16 how it is generated, stored or maintained) or tangible things that qualify for protection
 17 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause

 18 Statement.

 19          2.4   Counsel (without qualifier): Outside Counsel of Record and House
 20 Counsel (as well as their supporting staff).

 21          2.5   Designating Party: a Party or Non-Party that designates information or
 22 items    that it produces in disclosures or in responses to discovery as
 23 “CONFIDENTIAL.”

 24          2.6   Disclosure or Discovery Material: all items or information, regardless
 25 of the medium or manner in which it is generated, stored, or maintained (including,

 26 among other things, testimony, transcripts, and tangible things), that are produced or

 27 generated in disclosures or responses to discovery in this Action.

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  1          2.7   Expert: a person with specialized knowledge or experience in a matter
  2 pertinent to the litigation who has been retained by a Party or its counsel to serve as an

  3 expert witness or as a consultant in this Action.

  4          2.8   House Counsel: attorneys who are employees of a party to this action.
  5 House Counsel does not include Outside Counsel of Record or any other outside

  6 counsel.

  7          2.9   Non-Party: any natural person, partnership, corporation, association, or
  8 other legal entity not named as a Party to this Action.

  9          2.10 Outside Counsel of Record: attorneys who are not employees of a party
 10 to this Action but are retained to represent or advise a party to this Action and have

 11 appeared in this Action on behalf of that party or are affiliated with a law firm that has

 12 appeared on behalf of that party, and includes support staff.

 13          2.11 Party: any party to this Action, including all of its officers, directors,
 14 employees, consultants, retained experts, and Outside Counsel of Record (and their

 15 support staffs).

 16          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 17 Discovery Material in this Action.

 18          2.13 Professional Vendors: persons or entities that provide litigation support
 19 services   (e.g., photocopying, videotaping, translating, preparing exhibits or
 20 demonstrations, and organizing, storing, or retrieving data in any form or medium) and

 21 their employees and subcontractors.

 22          2.14 Protected Material:      any Disclosure or Discovery Material that is
 23 designated as “CONFIDENTIAL

 24          2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 25 from a Producing Party.

 26   3.     SCOPE
 27        The protections conferred by this Stipulation and Order cover not only
 28 Protected Material (as defined above), but also (1) any information copied or extracted


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  1 from Protected Material; (2) all copies, excerpts, summaries, or compilations of

  2 Protected Material; and (3) any testimony, conversations, or presentations by Parties

  3 or their Counsel that might reveal Protected Material. However, the protections

  4 conferred by this Stipulation and Order do not cover the following information: (a)
  5 any information that is in the public domain at the time of Disclosure to a Receiving

  6 Party or becomes part of the public domain after its Disclosure to a Receiving Party

  7 as a result of publication not involving a violation of this Order, including becoming

  8 part of the public record through trial or otherwise; and (b) any information known to

  9 the Receiving Party prior to the Disclosure or obtained by the Receiving Party after
 10 the Disclosure from a source who obtained the information lawfully and under no

 11 obligation of confidentiality to the Designating Party.

 12         Any use of Protected Material at trial shall be governed by the orders of
 13    the trial judge. This Order does not govern the use of Protected Material at trial.
 14    4.     DURATION
 15           Even after final disposition of this litigation, the confidentiality obligations
 16 imposed by this Order shall remain in effect until a Designating Party agrees otherwise
 17 in writing or a court order otherwise directs. Final disposition shall be deemed to be

 18 the later of (1) dismissal of all claims and defenses in this Action, with or without

 19 prejudice; and (2) final judgment herein after the completion and exhaustion of all

 20 appeals, rehearings, remands, trials, or reviews of this Action, including the time limits

 21 for filing any motions or applications for extension of time pursuant to applicable law.

 22
       5.     DESIGNATING PROTECTED MATERIAL
 23
              5.1   Exercise of Restraint and Care in Designating Material for Protection.
 24
              Each Party or Non-Party that designates information or items for protection
 25
      under this Order must take care to limit any such designation to specific material that
 26
      qualifies under the appropriate standards. The Designating Party must designate for
 27
      protection only those parts of material, documents, items, or oral or written
 28


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  1 communications that qualify – so that other portions of the material, documents, items,

  2 or communications for which protection is not warranted are not swept unjustifiably

  3 within the ambit of this Order.

  4        Mass, indiscriminate, or routinized designations are prohibited. Designations
  5 that are shown to be clearly unjustified or that have been made for an improper purpose

  6 (e.g., to unnecessarily encumber the case development process or to impose

  7 unnecessary expenses and burdens on other parties) expose the Designating Party to

  8 sanctions.

  9        If it comes to a Designating Party’s attention that information or items that it
 10 designated for protection do not qualify for protection, that Designating Party must

 11 promptly notify all other Parties that it is withdrawing the innaplicable designation.

 12        5.2      Manner and Timing of Designations.
 13        Except as otherwise provided in this Order (see, e.g., second paragraph of
 14 section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

 15 Material that qualifies for protection under this Order must be clearly so designated

 16 before the material is disclosed or produced.
 17        Designation in conformity with this Order requires:
 18        (a)      for information in documentary form (e.g., paper or electronic
 19 documents, but excluding transcripts of depositions or other pretrial or trial

 20 proceedings),    that the Producing Party affix at a minimum the legend
 21 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

 22 contains protected material. If only a portion or portions of the material on a page

 23 qualifies for protection, the Producing Party also must clearly identify the protected

 24 portion(s) (e.g., by making appropriate markings in the margins).

 25          A Party or Non-Party that makes original documents or materials available for
 26 inspection need not designate them for protection until after the inspecting Party has

 27 indicated which documents or material it would like copied and produced. During the

 28 inspection and before the designation, all of the documents or material made available


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  1 for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

  2 identified the documents or material it wants copied and produced, the Producing Party

  3 must determine which documents or material, or portions thereof, qualify for

  4 protection under this Order. Then, before producing the specified documents, the
  5 Producing Party must affix the “CONFIDENTIAL” legend to each page that contains

  6 Protected Material. If only a portion or portions of the material on a page qualifies for

  7 protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,

  8 by making appropriate markings in the margins).

  9          (b)   for testimony given in depositions, that the Designating Party identify
 10 the Disclosure or Discovery Material on the record, before the close of the deposition

 11 all protected testimony.

 12          (c)   for information produced in some form other than documentary and for
 13 any other tangible items, that the Producing Party affix in a prominent place on the

 14 exterior of the container or containers in which the information is stored the legend

 15 “CONFIDENTIAL.”            If only a portion or portions of the information warrants
 16 protection, the Producing Party, to the extent practicable, shall identify the protected
 17 portion(s).

 18        5.3     Inadvertent Failures to Designate.
 19        If timely corrected, an inadvertent failure to designate qualified information or
 20 items does not, standing alone, waive the Designating Party’s right to secure protection

 21 under this Order for such material. Upon timely correction of a designation, the

 22 Receiving Party must make reasonable efforts to assure that the material is treated in

 23 accordance with the provisions of this Order.

 24   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
 25          6.1   Timing of Challenges.       Any Party or Non-Party may challenge a
 26 designation of confidentiality at any time that is consistent with the Court’s Scheduling

 27 Order.

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  1            6.2   Meet and Confer. The Challenging Party shall initiate the dispute
  2 resolution process under Local Rule 37.1, et seq.

  3            6.3   The burden of persuasion in any such challenge proceeding shall be on
  4 the Designating Party. Frivolous challenges, and those made for an improper purpose
  5 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may

  6 expose the Challenging Party to sanctions. Unless the Designating Party has waived

  7 or withdrawn the confidentiality designation, all parties shall continue to afford the

  8 material in question the level of protection to which it is entitled under the Producing

  9 Party’s designation until the Court rules on the challenge.
 10   7.       ACCESS TO AND USE OF PROTECTED MATERIAL
 11            7.1   Basic Principles. A Receiving Party may use Protected Material that is
 12 disclosed or produced by another Party or by a Non-Party in connection with this

 13 Action only for prosecuting, defending, or attempting to settle this Action. Such

 14 Protected Material may be disclosed only to the categories of persons and under the

 15 conditions described in this Order. When the Action has been terminated, a Receiving

 16 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
 17        Protected Material must be stored and maintained by a Receiving Party at a
 18 location and in a secure manner that ensures that access is limited to the persons

 19 authorized under this Order.

 20        7.2       Disclosure of “CONFIDENTIAL” Information or Items.              Unless
 21 otherwise ordered by the court or permitted in writing by the Designating Party, a

 22 Receiving Party may disclose any information or item designated “CONFIDENTIAL”

 23 only to:

 24        (a)       the Receiving Party’s Outside Counsel of Record in this Action, as well
 25 as employees of said Outside Counsel of Record to whom it is reasonably necessary to

 26 disclose the information for this Action;

 27        (b)       the officers, directors, and employees (including House Counsel) of the
 28 Receiving Party to whom disclosure is reasonably necessary for this Action;


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  1        (c)     Experts (as defined in this Order) of the Receiving Party to whom
  2 disclosure is reasonably necessary for this Action and who have signed the

  3 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

  4        (d)     the court and its personnel;
  5        (e)     court reporters and their staff;
  6        (f)     professional jury or trial consultants, mock jurors, and Professional
  7 Vendors to whom disclosure is reasonably necessary for this Action and who have

  8 signed the “Acknowledgment and Agreement to be Bound” attached as Exhibit A

  9 hereto;
 10        (g)     the author or recipient of a document containing the information or a
 11 custodian or other person who otherwise possessed or knew the information;

 12        (h)     during their depositions, witnesses, and attorneys for witnesses, in the
 13 Action to whom disclosure is reasonably necessary provided: (i) the deposing party

 14 requests that the witness sign the “Acknowledgment and Agreement to Be Bound;”

 15 and (ii) they will not be permitted to keep any confidential information unless they sign

 16 the “Acknowledgment and Agreement to Be Bound,” unless otherwise agreed by the
 17 Designating Party or ordered by the Court. Pages of transcribed deposition testimony

 18 or exhibits to depositions that reveal Protected Material may be separately bound by

 19 the court reporter and may not be disclosed to anyone except as permitted under this

 20 Stipulated Protective Order; and

 21        (i)     any mediator or settlement officer, and their supporting personnel,
 22 mutually agreed upon by any of the parties engaged in settlement discussions.

 23   8.      PROTECTED          MATERIAL             SUBPOENAED        OR      ORDERED
 24   PRODUCED IN OTHER LITIGATION
 25        If a Party is served with a subpoena or a court order issued in other litigation
 26   that compels disclosure of any information or items designated in this Action as
 27   “CONFIDENTIAL,” that Party must:
 28              (a)      promptly notify in writing the Designating Party. Such

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  1 notification shall include a copy of the subpoena or court order;

  2                (b)     promptly notify in writing the party who caused the subpoena or
  3 order to issue in the other litigation that some or all of the material covered by the

  4 subpoena or order is subject to this Protective Order. Such notification shall include a
  5 copy of this Stipulated Protective Order; and

  6                (c)     cooperate with respect to all reasonable procedures sought to be
  7 pursued by the Designating Party whose Protected Material may be affected.

  8 If the Designating Party timely seeks a protective order, the Party served with the

  9 subpoena or court order shall not produce any information designated in this action as
 10 “CONFIDENTIAL” before a determination on such protective order request by the

 11 court or tribunal from which the subpoena or order issued, unless the Party has obtained

 12 the Designating Party’s permission. The Designating Party shall bear the burden and

 13 expense of seeking protection in that court of its confidential material. Nothing in these

 14 provisions should be construed as authorizing or encouraging a Receiving Party in this

 15 Action to disobey a lawful directive from another court.

 16   9.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 17        PRODUCED IN THIS LITIGATION
 18          (a)     The terms of this Order are applicable to information produced by a
 19 Non-Party in this Action and designated as “CONFIDENTIAL.” Such information

 20 produced by Non-Parties in connection with this litigation is protected by the remedies

 21 and relief provided by this Order. Nothing in these provisions should be construed as

 22 prohibiting a Non-Party from seeking additional protections.

 23          (b)     In the event that a Party is required, by a valid discovery request, to
 24 produce a Non-Party’s confidential information in its possession, and the Party is

 25 subject to an agreement with the Non-Party not to produce the Non-Party’s confidential

 26 information, then the Party shall:

 27                  (1) promptly notify in writing the Requesting Party and the Non-Party
 28 that some or all of the information requested is subject to a confidentiality agreement


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  1 with a Non-Party;

  2                 (2) promptly provide the Non-Party with a copy of the Stipulated
  3 Protective Order in this Action, the relevant discovery request(s), and a reasonably

  4 specific description of the information requested; and
  5                 (3) make the information requested available for inspection by the Non-
  6 Party, if requested.

  7          (c)    If the Non-Party fails to object or seek a protective order from this court
  8 within 14 days of receiving the notice and accompanying information, the Receiving

  9 Party may produce the Non-Party’s confidential information responsive to the
 10 discovery request. If the Non-Party timely seeks a protective order, the Receiving Party

 11 shall not produce any information in its possession or control that is subject to the

 12 confidentiality agreement with the Non-Party before a determination by the court.

 13 Absent a court order to the contrary, the Non-Party shall bear the burden and expense

 14 of seeking protection in this court of its Protected Material.

 15   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 16        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 17 Protected Material to any person or in any circumstance not authorized under this

 18 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing

 19 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve

 20 all unauthorized copies of the Protected Material, (c) inform the person or persons to

 21 whom unauthorized disclosures were made of all the terms of this Order, and (d)

 22 request such person or persons to execute the “Acknowledgment and Agreement to Be

 23 Bound” that is attached hereto as Exhibit A.

 24   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 25        PROTECTED MATERIAL
 26        When a Producing Party gives notice to Receiving Parties that certain
 27 inadvertently produced material is subject to a claim of privilege or other protection,

 28 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil


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  1 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

  2 may be established in an e-discovery order that provides for production without prior

  3 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the

  4 parties reach an agreement on the effect of disclosure of a communication or
  5 information covered by the attorney-client privilege or work product protection, the

  6 parties may incorporate their agreement in the stipulated protective order submitted to

  7 the court.

  8   12. MISCELLANEOUS
  9        12.1    Right to Further Relief. Nothing in this Order abridges the right of any
 10 person to seek its modification by the Court in the future.

 11        12.2    Right to Assert Other Objections. No Party waives any right it otherwise
 12 would have to object to disclosing or producing any information or item on any ground

 13 not addressed in this Stipulated Protective Order. Similarly, no Party waives any right

 14 to object on any ground to use in evidence of any of the material covered by this

 15 Protective Order.

 16        12.3    Filing Protected Material. A Party that seeks to file under seal any
 17 Protected Material must comply with Civil Local Rule 79-5. Protected Material may

 18 only be filed under seal pursuant to a court order authorizing the sealing of the specific

 19 Protected Material at issue. If a Party's request to file Protected Material under seal is

 20 denied by the Court, then the Receiving Party may file the information in the public

 21 record unless otherwise instructed by the Court.

 22   13. FINAL DISPOSITION
 23        After final disposition of this Action, as defined in paragraph 4, within 60 days
 24 of a written request by the Designating Party, each Receiving Party must return all

 25 Protected Material to the Producing Party or destroy such material. As used in this

 26 subdivision, “all Protected Material” includes all copies, abstracts, compilations,

 27 summaries, and any other format reproducing or capturing any of the Protected

 28 Material. Whether the Protected Material is returned or destroyed, the Receiving Party


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  1 must submit a written certification to the Producing Party (and, if not the same person

  2 or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by

  3 category, where appropriate) all the Protected Material that was returned or destroyed

  4 and (2) affirms that the Receiving Party has not retained any copies, abstracts,
  5 compilations, summaries or any other format reproducing or capturing any of the

  6 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an

  7 archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

  8 legal memoranda, correspondence, deposition and trial exhibits, expert reports,

  9 attorney work product, and consultant and expert work product, even if such materials
 10 contain Protected Material. Any such archival copies that contain or constitute

 11 Protected Material remain subject to this Protective Order as set forth in Section 4

 12 (DURATION).

 13        14. Any violation of this Order may be punished by any and all appropriate
 14 measures including, without limitation, contempt proceedings and/or monetary

 15 sanctions.

 16
 17        IT IS SO ORDERED.
 18

 19 DATED: ____________________            ________________________________
                                              Honorable Kenly Kiya Kato
 20                                           United States District Court
                                              Central District of California
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  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3        I, _____________________________ [print or type full name], of
  4 ____________________________________ [print or type full address], declare under

  5 penalty of perjury that I have read in its entirety and understand the Protective Order

  6 that was issued by the United States District Court for the Central District of California

  7 on ___________________in the case of Joseph Diaz, Jr. v. Ralph Heredia et al., Case

  8 No. Case No. 5:20-cv-02332- JWH-KK. I agree to comply with and to be bound by all

  9 the terms of this Protective Order and I understand and acknowledge that failure to so

 10 comply could expose me to sanctions and punishment in the nature of contempt. I

 11 solemnly promise that I will not disclose in any manner any information or item that

 12 is subject to this Protective Order to any person or entity except in strict compliance

 13 with the provisions of this Order.

 14        I further agree to submit to the jurisdiction of the United States District Court
 15 for the Central District of California for the purpose of enforcing the terms of this

 16 Protective Order, even if such enforcement proceedings occur after termination of this

 17 action.

 18        I hereby appoint __________________________ [print or type full name] of
 19 _______________________________________ [print or type full address and

 20 telephone number] as my California agent for service of process in connection with

 21 this action or any proceedings related to enforcement of this Stipulated Protective

 22 Order.

 23

 24 Date: ______________________________________

 25 City and State where sworn and signed: _________________________________

 26

 27 Printed name: _______________________________

 28 Signature: __________________________________
                                                 13
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